     Case 8:18-bk-12466-CB            Doc 13 Filed 07/26/18 Entered 07/26/18 09:22:43                 Desc
                                        Main Document Page 1 of 2



 1   Peter C. Anderson
     United States Trustee
 2   Frank M. Cadigan, SBN 095666                                           FILED & ENTERED
     Assistant U.S. Trustee
 3   411 West Fourth Street, Suite 7160
     Santa Ana, CA 92701-8000                                                     JUL 26 2018
 4   Tel: 714-338-3400
     Fax: 714-338-3421
 5   frank.cadigan@usdoj.gov                                                 CLERK U.S. BANKRUPTCY COURT
                                                                             Central District of California
                                                                             BY firman     DEPUTY CLERK
 6

 7                                                                   CHANGES MADE BY COURT
 8                                    UNITED STATES BANKRUPTCY COURT

 9                      CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION

10

11    In re:                                                  Case Number: 8:18-bk-12466-CB

12    RANDY RAMIREZ,                                          Chapter 13

13                          Debtor.                           ORDER CONTINUING HEARING RE: ORDER
                                                              TO SHOW CAUSE AND ORDER
14                                                            COMPELLING PERSONAL APPEARANCES
                                                              OF THE DEBTOR RANDY RAMIREZ,
15                                                            ATTORNEY RONALD A. NORMAN AND
                                                              RICK DELA RIVA, AKA RICK DE LA RIVA,
16                                                            AKA RICHARD D. RIVA AKA JAMES RIVA

17                                                            Date: August 7, 2018
                                                              Time: 10:00 A.M.
18                                                            Courtroom: 5D
                                                              Address:    411 W 4th St, Santa Ana, CA 92701
19

20             A hearing was held on July 24, 2018, at 10:00 a.m., before the Honorable Catherine E. Bauer,

21   United States Bankruptcy Judge for the Central District of California, in Courtroom 5D located at 411

22   West Fourth St., Santa Ana, CA, on the Court’s Order to Show Cause filed July 10, 2018 as Docket #4

23   (“OSC”) requiring the Debtor to appear, in person, with his attorney Ronald A. Norman and explain the

24   purpose and feasibility of the current filing, given the multiple prior unsuccessful bankruptcies.

25             Appearances were made by the Debtor, appearance counsel John Edwards from the Law Offices

26   of Ronald A. Norman and Frank Cadigan on behalf of the US Trustee’s Office.

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     Case 8:18-bk-12466-CB         Doc 13 Filed 07/26/18 Entered 07/26/18 09:22:43                 Desc
                                     Main Document Page 2 of 2



 1          The Court noted attorney Ronald A. Norman failed to appear in spite of the language in the OSC

 2   stating: “Appearance counsel not permitted. Attorney Norman must appear in person.” Mr. Norman

 3   also failed to file the required declaration under penalty of perjury explaining the purpose and feasibility

 4   of the bankruptcy.

 5          The Court having heard the statements of counsel, noted the absence of Mr. Norman and with

 6   good cause shown,

 7          IT IS ORDERED:

 8          1.      The Court’s Order to Show Cause is continued and Debtor, Randy Ramirez, attorney

 9   Ronald A. Norman, and Rick Dela Riva, aka Rick De La Riva, aka Richard D. Riva aka James Riva are

10   ordered to personally appear before this Court on August 7, 2018 at 10:00 a.m., in the Courtroom of

11   the Honorable Catherine E. Bauer, United States Bankruptcy Judge, Courtroom 5D, located in the

12   Ronald Reagan Federal Building and United States Courthouse, 411 W. Fourth Street, Santa Ana, CA

13   92701.

14          2.      Attorney Ronald A. Norman shall file a Declaration, on or before August 2, 2018, under

15   penalty of perjury explaining the purpose and feasibility of the bankruptcy filing given the prior

16   bankruptcies and the failure to file case commencement documents for the third consecutive

17   bankruptcy. Included in the Declaration attorney Ronald A. Norman shall also explain his relationship

18   to Mr. Riva.
19          3.      Failure of any of the parties to personally appear on August 7, 2018 at 10:00 a.m. may

20   subject that party to sanctions and/or a bodily detention order to be issued by this Court and executed

21   by the U.S. Marshal’s Service.
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           Date: July 26, 2018
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